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                                                         U.S. Department of Justice

                                                         Environment and Natural Resources Division
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                                                      October 27, 2023

VIA ELECTRONIC FILING

Mark Langer, Clerk of Court
United States Court of Appeals, District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue, NW
Washington, D.C. 20001

                   Re:          Sinclair Wyoming Refining, et al. v. EPA, No. 22-1073
                                (and consolidated cases)

Dear Clerk:

       Pursuant to §§ IX.A.1 & XI.A of this Court’s Handbook of Practice and
Internal Procedures, I am providing notice that I am not available for oral argument
of the above-captioned consolidated cases on March 20-22, 2024 and March 25-26,
2024.

      Please do not hesitate to contact me should you have any questions or need
any additional information.

                                                         Respectfully submitted,

                                                         s/ Bryan J. Harrison
                                                         Bryan J. Harrison
                                                         Counsel for Respondent EPA

cc: Counsel of record, via CM/ECF
